  Case 1:19-cv-00853-LMB-JFA Document 9 Filed 01/06/20 Page 1 of 2 PageID# 55



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division



AIDA ELZAGALLY,as the wife of
Msaddek Tunalli, deceased, et al.

       Plaintiffs,

                                                                       l:19-cv-853(LMB/MSN)

KHALIFA HAFTAR,individually last known address
in Libya,

        Defendant.
                                              ORDER


       It appears from the record that the defendant is in default. Accordingly, it is hereby

        ORDERED that plaintiffs immediately obtain an entry of default from the Clerk pursuant

to Fed. R. Civ. P. 55(a), and it is further

        ORDERED that promptly after obtaining the entry of default, plaintiffs file a motion for

defaultjudgment and an accompanying memorandum setting forth the factual and legal support

for findings that(a)this court has subject matter and personal jurisdiction, including how the

defaulting defendant was served and why that service was proper;(b)the complaint alleges facts

establishing all the necessary elements ofone or more claims on which reliefcan be granted; and

(c) plaintiffs can receive the damages and any other relief sought, with specific references to

affidavits, declarations, or other evidence supporting such relief, and it is further

        ORDERED that plaintiffs file a Notice setting the hearing ofthe motion for default

judgment for 10:00 a.m. on Friday, February 7,2020, before the magistrate judge to whom this

action is referred, or in event ofa conflict, then on the date obtained from the chambers ofthe

magistrate judge, and mail copies ofthe notice, motion, and memorandum to the defaulting
Case 1:19-cv-00853-LMB-JFA Document 9 Filed 01/06/20 Page 2 of 2 PageID# 56
